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                                    9280
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                                    9281
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                                    9282
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                                    9283
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                                    9285
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                                    9286
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                                    9287
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                                    9288
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                                    9289
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                                    9290
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                                    9291
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